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__________________________________________________________________
                                                                                     SO ORDERED,




                                                                                    Judge Katharine M. Samson
                                                                                    United States Bankruptcy Judge
                                                                                    Date Signed: September 21, 2023


        The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________

                                     IN THE UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF MISSISSIPPI

IN RE:                      TRACY NEAL ROBINSON                                                                                        CHAPTER 11
                            Debtor                                                                                           CASE NO. 22-02414-KMS

                                                                                  ORDER

              THIS CAUSE having come on for consideration of the Motion to Expedite Hearing (the

“Motion”) [DK #120] filed herein by Tracy Neal Robinson (the “Debtor”), and the Court having

considered the Motion finds that the Motion should be granted.

              IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the Motion to

Expedite Hearing is hereby granted. The Clerk of the Court will issue a notice of hearing consistent

with this Order. Counsel for the Debtor is directed to immediately provide a copy of the Motion for

Authority to Sell Real Property Outside the Ordinary Course of Business Free and Clear of Liens,

Claims and Interests [DK #118] and the notice of hearing in connection with same to all creditors and

parties-in-interest and file an accompanying certificate of service.

                                                                         # # END OF ORDER # #


SUBMITTED BY:

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